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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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CHEVRON CORPORATION,

Plaintiff,

-against- 11-cv-0691 (LAK)

STEVEN DONZIGER, et al.,

Defendants.
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ORDER

Lewis A. KAPLAN, District Judge.

Plaintiff's motion to hold Aaron Marr Page in civil contempt, in respect of which
Magistrate Judge Robert W. Lehrburger issued a report and recommendation (the “R&R”) dated
January 27, 2020, is remanded to Magistrate Judge Lehrburger for further consideration in light of
the Court of Appeals’ recent decision of the portion of the R&R commencing at page 21.

SO ORDERED.

Dated: March 26, 2021

 

Lewis A. Kaplan
United States District Judge

 
